Case 3:19-cv-01743-Sl

Stephen Manning (SBN 013373)
stephen@innovationlawlab.org
Nadia Dahab (SBN 125630)
nadia@innovationlawlab.org
INNOVATION LAW LAB

333 SW Fifth Avenue #200
Portland, OR 97204

Telephone: +1 503 241-0035
Facsimile: +1 503 241-7733

Attorneys for Plaintiffs

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Karen C. Tumlin (admitted pro hac vice)
karen.tumlin@justiceactioncenter.org
Esther H. Sung (admitted pro hac vice)
esther.sung@justiceactioncenter.org
JUSTICE ACTION CENTER

P.O. Box 27280

Los Angeles, CA 90027

Telephone: +1 323 316-0944

UNITED STATES DISTRICT COURT

DISTRICT OF OREGON

PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; and LATINO
NETWORK,

Plaintiffs,

DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; KEVIN MCALEENAN, in his
official capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND

HUMAN SERVICES; ALEX M. AZAR IL, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,

Defendants.

 

Case No.: 3:19-cv-01743-SB

DECLARATION OF DAGMAR BUTTE
IN SUPPORT OF PLAINTIFFS’
MOTION FOR A PRELIMINARY
INJUNCTION
Case 3:19-cv-01743-SI Document 62 Filed 11/08/19 Page 2 of 3

DECLARATION OF DAGMAR BUTTE

I, Dagmar Butte, hereby declare:

1. I am an immigration attorney at the law firm of Parker, Butte, & Lane, PC
in Portland, Oregon. I have been an immigration attorney for more than 25 years.

2. The Department of State’s National Visa Center sends emails to visa
applicants who are preparing for consular processing that contain detailed instructions
about what is necessary for the consular interview.

3. On November 6, 2019, I received an email from the National Visa Center
concerning consular processing for an immigrant visa for one of my clients.

4, The email included this language: “PRESIDENTIAL PROCLAMATION
ON HEALTH CARE: You must be able to demonstrate to the consular officer at the time
of interview you will be covered by approved health insurance within 30 days of entry
into the United States or have the financial resources to pay for reasonably foreseeable
medical costs. Inability to meet this requirement will result in the denial of the visa
application. For complete requirements and/or exemptions, visit
https://travel. state. gov/healthcare.”

5. Even though the email was received four days after the issuance of the
temporary restraining order that halts the implementation of the Presidential Proclamation
on Health Care, the body of the email made no reference to the temporary restraining
order.

6. A visa applicant who received the email may not be aware of the
temporary restraining order unless she clicked on the link to the website that is referenced

in the email. That website says, “A nationwide temporary order has been issued by the

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MOTION FOR A PRELIMINARY INJUNCTION
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USS. District Court for the District of Oregon halting implementation of P.P. 9945
Suspension of Entry to Immigrants Who Will Financially Burden the United States
Healthcare System. Please monitor this page for updates.”

7. Based on my experience as an immigration attorney, I believe that many
visa applicants will believe that they must comply with the instructions in the body of the
email from the National Visa Center, in spite of the language on the State Department
website about the temporary restraining order. They may not understand what a

temporary restraining order means for their cases.

I hereby declare under penalty of perjury that the foregoing is true and correct.

DATE: November 8, 2019

 

 

 

 

Tm OFFICIAL STAMP
mace KELSEY KATHRYN PEREZ LOPEZ
B) NOTARY PUBLIC-OREGON

COMMISSION NO, 946333
MY COMMISSION EXPIRES JANUARY 18, 2020

 

 

 

 

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MOTION FOR A PRELIMINARY INJUNCTION
